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 February 4, 2012

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 The great wheel of tragedy turned again yesterday. A 64-year-old Hells Angel named Thomas Heath was sentenced to prison. It will be his
 second trip to the penitentiary and although he plans to appeal it is unlikely that he will ever be released.

 Heath’s biography is Faulknerian. “It’s all now you see,” the greatest American tragedian wrote in Intruder in the Dust. “Yesterday won’t be
 over until tomorrow and tomorrow began ten thousand years ago.” Even people who have never read Faulkner know his most famous line:
 “The past is never dead. It’s not even past.”

 Faulkner was writing about Thomas Heath.




www.agingrebel.com/4973                                                                                                                    1/10
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Bikers' Trade Shows Ends in Brawl; Man, 38, Killed - Los Angeles Times     Page 2 of 4
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  “It was going smoothly, without a hitch,” Kerlin said, until the fight started. “As
  far as I can tell, it seemed like a group had an altercation with another group
  and that’s basically all I know.”


  The three-day event began Friday night, but Kerlin said it was “highly unlikely”
  it would be allowed to resume today.




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                                      STORY    ·   Published April 28, 2002   ·   Last Update January 13, 2015


            Motorcycle Clubs Have History of Run-Ins With Law
                              Enforcement
                                                                By | Associated Press




   The following is a list of recent incidents involving motorcycle clubs:

   — Feb. 23. One man was killed and 10 others injured in a ght between members of the Hells Angels
   motorcycle club and a rival gang, the Pagans, at the Hellraiser Ball, an indoor motorcycle and tattoo
   expo in Plainview, N.Y. Authorities said the ght was over turf tensions.

   — Oct. 27, 2001. A motorcycle swap meet at the Orange County, Calif., Fairgrounds was canceled
   after a brawl broke out between members of the Hells Angels, Vagos and Mongols. One man was
   arrested and four others wounded. Witnesses said gang members fought with gas tanks, shock
   absorbers and handlebars.

   — May 21, 2000. More than 30 alleged members of the Mongols motorcycle gang were arrested and
   charged with extortion, arson, weapons violations, drug dealing and murder in a nationwide sweep
   by federal authorities. The arrests followed a two-year federal investigation.

   — March 3, 1997. Riverside, Calif., authorities arrest 32 members of the Hells Angels, Hessians,
   Vagos and Mongols who allegedly worked together to commit insurance fraud. Authorities allege
   the groups made $4 million by selling Harley-Davidson motorcycles overseas after ling false police
   theft reports and insurance claims.




https://www.foxnews.com/story/motorcycle-clubs-have-history-of-run-ins-with-law-enforcement                                         1/4
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Local Biker Slain in Arizona - Los Angeles Times                          Page 2 of 5
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  Organized-crime detectives with the Phoenix Police Department were
  investigating several motives, including the possibility that the slaying was in
  retaliation for another recent killing in the gaming town of Laughlin, Nev.


  “We are looking at that ... it could be fallout,” Sgt. Lauri Williams said Tuesday.


  On April 27, during the 20th annual Laughlin River Run, a fistfight broke out
  between members of the Hells Angels and the rival Mongols, a Los Angeles-
  based gang that has long sought a toehold in Arizona. In a shootout at Harrah’s
  Casino & Hotel in Laughlin, three bikers were killed and at least 12 were
  injured.


  Christie declined to comment on the feud. However, he acknowledged that
  Phoenix detectives were planning to come to Ventura this week to interview
  members of the motorcycle club.

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  According to Christie, Harber rode his motorcycle to Arizona with five fellow
  club members from Ventura. There was no planned event and police believe the
  group showed up primarily to drink and party.


  Police said Harber walked outside the Cave Creek bar and was approached by
  an unidentified man. The two had a brief conversation before the man shot
  Harber in the face and fled.

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  Several witnesses at the bar, a known Hells Angels hangout, described the
  shooter as a white male, about 6 feet 1 and 240 pounds.



https://www.latimes.com/archives/la-xpm-2002-jun-12-me-angel12-story.html                    6/29/2020
Local Biker Slain in Arizona - Los Angeles Times                          Page 3 of 5
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  Sgt. Williams said officers had dealt with relatively few problems with Hells
  Angels members at the Cave Creek bar. However, she added that cases
  involving rivalries were difficult because the Mongols had not been wearing
  their gang colors locally.




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A Brawl Between Motorcycle Gangs Turns Fatal at a Nevada
Casino
By Alex Kuczynski

April 28, 2002



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Three men, all motorcycle gang members, were killed and about a dozen others were
injured in a shooting and kniﬁng brawl that broke out in Harrah's casino early this morning
among rival bikers attending a huge annual motorcycle rally, the authorities said.

Another man, apparently also a biker, was found fatally shot this morning on Interstate 40
just across the border in California, said Sgt. Chris Darcy of the Las Vegas Police
Department, which helps patrol Laughlin, a Colorado River gambling resort about 90 miles
south of Las Vegas. It was not immediately clear whether his death was related to the
casino shootings, the police said.

The police said the ﬁght erupted when a member of the Mongol motorcycle gang walked
into a group of Hells Angels near the casino entrance. Sixty to 70 people, armed with guns
and knives, were involved, the authorities said.

All three of the dead were bikers, the police said, adding that numerous people were
arrested and a handgun was recovered.

Several people at the rally said tensions had been brewing between members of the Hells
Angels and the Mongols, and the ﬁght had resulted from a territorial dispute. It was most
likely the worst case of casino violence in the history of the state, Sergeant Darcy said.

https://www.nytimes.com/2002/04/28/us/a-brawl-between-motorcycle-gangs-turns-fatal-at-a-nevada-casino.html               1/3
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The shooting came on the ﬁrst night of River Run, the annual motorcycle rally in Laughlin.
The rally has been held for 20 years and is considered by its promoters to be the West's
largest ride-in motorcycle show, drawing about 50,000 participants a year. It is directed
primarily at Harley-Davidson fans, which means it attracts bikers from clubs around the
country, who come to gape at new models and to ride up and down the strip.

Until late yesterday afternoon, about a hundred gang members were still sequestered inside
the Harrah's casino, being questioned by the police.

''It's very difﬁcult to track everything down,'' Sergeant Darcy said. ''It's not as if this was
one person shooting one other person. There were many, many people involved.''

Outside, the main strip was humming with thousands of bikers undeterred by this
morning's violence and gunning their Harley-Davidson hogs as they rode slowly past the
site of the melee. Only a few stopped to crane their necks past the yellow police tape.

Across the street, bikers sat under the temporary awnings rigged off their campers and
RV's, as billboard-size banners for Jim Beam and Coors ﬂuttered behind them and the music
of Lynyrd Skynyrd and Rush providing a tinny sound track that could only occasionally be
heard over the desert wind.

The sign at the main entrance to town was still ﬂashing a warning not to bring bottles or
cans onto Laughlin Civic Drive. Also at the entrance was a notice that anyone younger than
16 was under curfew from 6 p.m. to 6 a.m. The neon sign at Harrah's was still ﬂashing the
happy phrase: ''Welcome Bikers / 25 cent craps.''

The highways into and out of the town were closed after the brawl, which began around 2:15
this morning.

Denise Massey, 48, was gambling with her ﬁancé on the ﬁrst ﬂoor of Harrah's when she
noticed 20 to 30 bikers suddenly converge.

''Next thing you know you just hear 'Bam, bam, bam,' '' Ms. Massey told The Associated
Press. ''All of a sudden they're running and just shooting at each other.''

According to the federal Bureau of Alcohol, Tobacco and Firearms, the Mongols are one of
the most violent and criminally active motorcycle gangs in Southern California. Two years
ago, the authorities arrested 29 Mongols on racketeering and other charges in Oklahoma,
Georgia and California after an undercover operation in which an A.T.F. special agent
inﬁltrated the club. During the investigation, the authorities recovered more than 70
ﬁrearms, including two machine guns.



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Seven people injured in this morning's violence were sent to the Western Arizona Regional
Medical Center across the river in Bullhead City, Ariz. University Medical Center in Las
Vegas was treating ﬁve patients.




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California biker gets life term for murder of Hells
Angels leader
By Emmett Berg

MAY 16, 2012



S        AN FRANCISCO (Reuters) - A member of the Mongols motorcycle gang was sentenced to life in federal
         prison without parole on Wednesday for the slaying four years ago of the San Francisco chapter president
of the rival bikers group Hells Angels.

Christopher Bryan Ablett, who went by the gang name "Stoney," was convicted earlier this year of murder and
other offenses in the 2008 stabbing-shooting death of Mark "Papa" Guardado outside a bar in San Francisco's
Mission District.

According to trial testimony, a fight broke out between the two men when Guardado confronted Ablett for
wearing his Mongols insignia in the Mission, a short distance from the Hells Angels' San Francisco
headquarters.

Ablett stabbed Guardado four times with a foot-long military knife and shot him twice with a .357-magnum
revolver, according to a statement from the U.S. Attorney's Office in San Francisco. Local media reports said
Guardado was 46 when he died.

Ablett claimed he acted in self-defense. But prosecutors contended that the rank-and-file member of the
Mongols, who was visiting San Francisco from Modesto, killed Guardado to raise his status within his own
gang.

The Mongols and the better-known Hells Angels, both identified by federal authorities as outlaw motorcycle
gangs, have been at odds for decades, often clashing violently.

The FBI cited phone records during the trial showing that Ablett spent several hours after the slaying calling
individuals identified as fellow Mongols.

The jury ultimately found Ablett guilty of murder in aid of racketeering, assault with a deadly weapon in aid of
racketeering, use of a firearm during a crime of violence, and use of a firearm causing murder.

He was sentenced in federal court to two concurrent life sentences and a consecutive life sentence. Federal life
terms do not allow for parole, the U.S. Attorney's Office said.

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   The plea bargain was signi cant for two reasons.

   Murray was one of three defendants accused of stabbing Mongols during the
   brawl at A Special Memory Wedding Chapel on Dec. 20, 2008.

   It is also the rst case in Nevada where a Hells Angel agreed to a plea deal
   that included a “gang enhancement.” The gang enhancement will add years
   to Murray’s prison sentence. Murray was a member of the Hells Angel’s at
   the time of the brawl, but his current status with the club was unclear
   Wednesday.

   In all, 13 men were charged with bludgeoning three Mongols in the wedding
   chapel melee.

   Eight, including Murray, were to stand trial for the second time on Aug. 5.
   The rst case ended in a mistrial when a judge said prosecutors failed to tell
   defense lawyers that a detective in the case testi ed in a child custody
   hearing for one of the victims.

   He will be sentenced by District Judge Ken Cory at an Oct. 17 hearing.

   He faces 2 to 16 years in prison. Murray remained free on $100,000 bond.

   His lawyer, Frank Cremen, did not immediately return a call requesting
   comment late Wednesday.

   Chief deputy district attorneys Sonja Jimenez and Marc DiGiacomo are
   prosecuting the case.

   The seven defendants awaiting trial next month are Dominic Orlando,
   Frederick O’Dell, Brandon Young, James Sexey, John Dawson, John
   Merchant and Armando Porras. They face about a dozen felony and
   misdemeanor counts, including attempted murder, battery and conspiracy.




https://www.reviewjournal.com/crime/courts/hells-angel-pleads-guilty-in-wedding-chapel-brawl/                           2/3
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   Authorities allege Sexey and Merchant also stabbed victims during the
   brawl.

   The ve remaining defendants in the case will face similar charges in two
   separate trials.

   Surveillance footage of the brawl shows Hells Angels and others swarming
   rival gang members at A Special Memory Wedding Chapel on Fourth Street
   and Gass Avenue. Six were injured, including three members of the Mongols.

   Hells Angels were attending a wedding ceremony. As they were leaving, at
   least three Mongols were at the chapel for another wedding. The 13 men
   attacked the Mongols, bludgeoning them with their sts, feet, bottles and
   trash cans.

   Prosecutors called it an unprovoked attack.

   The defense lawyers said their clients were acting in self-defense because
   Mongols had months earlier attacked and killed a Hells Angel in San
   Francisco.

   Contact reporter Francis McCabe at fmccabe@reviewjournal.com or 702-
   380-1039.




https://www.reviewjournal.com/crime/courts/hells-angel-pleads-guilty-in-wedding-chapel-brawl/                           3/3
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                                                Hells Angels members sentenced in August stabbing                                  SHARE THIS




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                   Hells Angels members sentenced in August stabbing
                                                           Amanda Friar MCTT staff
                                                               Mar 5, 2012




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     T
               wo Hells Angels Motorcycle Club members involved in a stabbing during the
               2011 motorcycle rally were sentenced in court in Sturgis on Monday.

     Mark Duclos, 48, of Fairbanks, Ala. was sentenced to six years in the state
     penitentiary, with four years suspended. He was given credit for the 40 days he has
     served in jail already. He will be required to pay $2,000 in fines and $2,146.05 in
     restitution. Duclos was charged with one count of aggravated assault.

     George Caruso, 58, of Shirley, Mass., who was charged with one count of simple
     assault, was sentenced to 360 days in the Meade County Jail. He will also be required
     to pay $2,000 in fines and $2,146.05 in restitution.




     The pair were involved in a fight between the Hells Angels and the Mongols motorcycle
     club on Aug. 10, which resulted in a stabbing, sending a Mongols member and a Hells
     Angels member to the hospital with non-life threatening injuries.

     Character letters for each club member were sent to the state’s attorney’s office from
     family and friends supporting both Caruso and Duclos.

https://rapidcityjournal.com/news/local/communities/sturgis/hells-angels-members-sentenced-inaugust-stabbing/article_ca6cafbc-66f4-11e1-b3e4-001…   1/5
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     According to Meade County State’s Attorney Kevin Krull, the letters sent paint a
                                                Hells Angels members sentenced in August stabbing                                  SHARE THIS
     positive picture of Duclos, though he felt that made the crimes committed worse.

     “All of the letters makes it appear that he has a positive life back home and it appears
     he feels like he can behave like a criminal in Sturgis,” Krull said. According to Krull,
     Duclos’ behavior since the incident has been inconsistent, sometimes appearing a
     wheelchair and other times appearing to be able to walk.




     Duclos’ attorney Angela Colbath out of Rapid City said he has always been consistent
     and that there was not so much as a traffic ticket listed on his record, so he should be
     given a shorter sentence.

     “He understands that he needs to be mindful of the positions he puts himself into in
     the future,” Colbath said. “I believe that the character letters paint an accurate picture
     of who Mr. Duclos is.”

     Duclos apologized for his actions in court, saying he was sorry that the situation arose
     of such magnitude.

     A video of the fight that occurred on Aug. 10 showed that Caruso started the fight,
     throwing the first punch, which Fourth Circuit Judge Jerome A. Eckrich said was the
     reason they were there.



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                                                Hells Angels members sentenced in August stabbing                                  SHARE THIS




     “You started this with the sucker punch and we wouldn’t be here if it weren’t for you
     throwing the first sucker punch,” Eckrich said. “I would not have just sent Mr. Duclos
     off to jail if it weren’t for you. You’re much more culpable than Mr. Duclos.”

     According to Deputy State’s Attorney Kasey Sorensen, Caruso has not acknowledged
     the fact that the incident took place or that he was involved.

     “The only thing that he is remorseful about is that he got caught,” Sorensen said.
     According to Sorensen, the Mongols Motorcycle Club approached the Hells Angels to
     pay their respects and shake their hands, when Caruso threw the first punch, while
     wearing black gloves. “It was the middle of August. There was only one reason why Mr.
     Caruso would be wearing those gloves.”




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     Colbath asked that the court consider the letters submitted to the court from family,
                                                Hells Angels members sentenced in August stabbing                                  SHARE THIS
     friends and business partners on Caruso’s behalf.



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VALLEY NEWS (HTTPS://WWW.PHOENIXMAG.COM/CATEGORY/PEOPLE/VALLEY-NEWS/)


Death in the Brotherhood
JIMMY MAGAHERN (HTTPS://WWW.PHOENIXMAG.COM/AUTHOR/JMAGAHEM/) | July 1, 2015


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Who killed Cave Creek Hells Angel Patrick Eberhardt? There are some striking theories on
the street.

If you want to understand outlaw-biker culture, forget binge-watching Sons of Anarchy. Just
watch the 7-minute video of the funeral procession for second-generation Hells Angel Patrick
Eberhardt, son of the motorcycle club’s Cave Creek chapter president, “Spa Bob” Eberhardt. Just a
month after celebrating his 23rd birthday, the younger Eberhardt was shot dead on the streets of
North Phoenix by a still-at-large assailant on a Saturday night last February.

The video captures hundreds of motorcycle riders, many wearing the HA’s trademarked death-
head patch and red-and-white colors, riding in a slow, stately procession up Grand Avenue to the
strains of Metallica’s “Nothing Else Matters.” The take-away: Motorcycle clubs, also known as
MCs, are intensely disciplined and loyal. They’re also impenetrable, talking to media little and
law enforcement less.

Which perhaps explains why The Last Ride of Patrick Eberhardt is about all you’ll nd on the
Internet regarding Eberhardt’s shooting, despite its obvious newsworthiness. As the recent biker
shootout in Waco, Texas conclusively demonstrates, feuds between outlaw-biker MCs have a way
of escalating into blood baths – a not-outlandish possibility in the Valley, given previously-
undisclosed details about the Eberhardt shooting uncovered by PHOENIX magazine.

According to a con dential source with close ties to the Arizona Hells Angels, Eberhardt’s killers
were members of a rival MC. “[The Angels] know exactly how it happened and exactly who did it,”
the source says, quoting two “full-patch” HA members.

The version of the shooting offered by the source is largely corroborated by a Phoenix Police
report obtained by PHOENIX magazine. According to the report, an of cer arrived at the scene
near 15th Street and Bell Road to nd two men on the ground: Eberhardt, wearing his HA colors,
who was pronounced dead on the scene from two gunshots to his left side; and Stephen Calloway,
a “hang-around,”  or a potential prospect
           Case 3:17-cr-00533-EMC         of the club,
                                       Document        who was
                                                 1084-18   Filedtreated at aPage
                                                                 06/29/20   nearby
                                                                                 54hospital.
                                                                                    of 91    Police
interviewed four other bikers at the scene, who were all identi ed as members of California
chapters of the Hells Angels, but none of them claimed any knowledge of what happened.

The report notes that earlier in the day there had been a shooting near 30th Street and Thomas
Road in which unidenti ed bikers – possibly Hells Angels, though that detail is not spelled out in
the report – red shots at members of the Mongols, a longtime HA rival club with chapters in
Phoenix and Mesa, and that one of the two unnamed suspects in the ongoing investigation into
Eberhardt’s death is a Mongol member. According to the report, there was some “traf c-related”
contact between the Hells Angels and the suspects riding in a car along Bell Road shortly before
the shots were red.

The shooting has likely placed the Arizona Hells Angels at a philosophical crossroads. Within the
outlaw-biker community, Arizona is known as Hells Angels territory, and the club has gone to war
with interlopers in the past – most recently in 2010, when members of the Hells Angels Skull
Valley chapter and a rival club called the Vagos traded nonlethal gun re near Prescott. But
retaliation carries a price, as the 170 indictments handed down in the wake of the Waco shooting
– which resulted in nine deaths – demonstrate.

It’s relevant to note that one of the clubs involved in the Texas melee, the Cossacks, are HA-
af liated – and were allegedly making a push for territory prior to the shootout.

Phoenix Police declined to comment on the Eberhardt murder investigation, and the lack of an
arrest has left some observers feeling dubious about a legal resolution. “This murder will never be
solved,” says Donald Charles Davis, L.A.-based author of Out Bad – which depicts the battles
between the Mongols and law enforcement – as well as the popular biker blog The Aging Rebel.
“Unless they have an undercover ATF agent patched inside the Mongols or prospecting the Hells
Angels – which, to the best of my knowledge, they don’t – I just don’t think anybody’s going to
talk on this.”

Davis has another theory as to why the investigation may be languishing – a theory that jibes
neatly with the outlaw-biker world’s institutional paranoia of all things law enforcement. After
posting a brief story on his blog about Eberhardt’s murder, an anonymous reader left the
comment “Payback is a bitch,” which Davis believes was meant to bait rival clubs into a turf war.
Davis tracked the source of the post to a private server in Frankfurt, Germany that he says was
used in the past by ATF agents as a “honeypot” to lure Al-Qaeda militants. Davis has a hunch the
shots may have actually been red by members of the Iron Order Motorcycle Club, a “law-
abiding” club composed largely of off-duty cops and military of cers with three Phoenix chapters
who would have access to government assets like the Frankfurt server.

“To some extent, the Iron Order serves the purpose of a quasi-state agency,” he says. “They create
incidents that allow the police to entrap and prosecute other motorcycle clubs.” Members of the
North Phoenix Iron Order did not respond to interview requests.

It’s a far-fetched theory, but Davis believes a reprisal shooting is far-fetched, too.
“Motorcycle  outlaws
           Case        are actually moreDocument
                 3:17-cr-00533-EMC       disciplined than most
                                                  1084-18      grown
                                                           Filed      men,”Page
                                                                 06/29/20    Davis
                                                                                55explains.
                                                                                   of 91    “The
military in uence really comes into it. They ght duels over matters of honor… But as far as
conspiring to kill somebody? That’s increasingly rare, just because they’re under so much heat
and surveillance. It’s tough to get away with.”




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   Man shot at Hells Angels clubhouse not cooperating
   with police
   Thu., April 23, 2015




   By Nina Culver
   nculver47@gmail.com



   The man shot at the Hells Angels clubhouse in East Central Spokane Sunday is not
   cooperating with police who are investigating the incident and told officers he “didn’t
   want to be a victim,” according to court documents.

   The two men who drove the victim, identified as Logan J. Wood, to the hospital to be
   treated for his wound also refused to tell police anything other than they were at the
   clubhouse at 1306 E. Sprague Ave., court records say. The victim was shot in the back.

   All three men denied being members of the Hells Angels, but one asked police for
   permission to retrieve his “cuts” from the trunk of the car used to drive the victim to the
   hospital before officers impounded it as evidence. The term “cuts” is commonly used to
   refer to a Hells Angels motorcycle vest, according to court documents.

   Both Wood and one of the men who drove him to the hospital are convicted felons.

   Police responded to the clubhouse just before 11:30 a.m. Sunday after a 911 caller
   reported hearing gunshots. One witness told police that she saw a red truck and a black
   car driving quickly away from the clubhouse after the gunshots were heard. She also saw
   several men get into a red car and drive away after taking off their motorcycle vests and
   putting them in the trunk of the car, according to court documents. A second witness
   gave similar information to police.

https://www.spokesman.com/stories/2015/apr/23/man-shot-at-hells-angels-clubhouse-not/                                              1/7
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                                                                                                | The Spokesman-Review

   Several men who told police they had been in the backyard of the clubhouse that day
   denied any knowledge of the shooting.

   Police found six 9 mm cartridge cases in the street outside the clubhouse, according to
   court records. There were six motorcycles parked out front. One appeared to have been
   hit by a bullet on the front fender and a helmet placed on one of the motorcycles had a
   bullet hole in it. One bullet was removed from the front wall of the building.

   Investigators also found three loaded guns sitting in plain view on a countertop inside
   the clubhouse – a .38-caliber derringer, a .22-caliber revolver and a .45-caliber Sig Sauer
   semi-automatic handgun, court documents say.

   Police recently said on Twitter that the department has responded to the Hells Angels
   clubhouse 19 times since January 2013.




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   'Mongols' motorcycle club member denied bond in
   attack near VCU
   By TED STRONG Richmond Times-Dispatch
   Dec 2, 2015




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                                                  Bovender
                                                  RICHMOND POLICE




   Justin T. Bovender



   A Mongols Motorcycle Club member charged with breaking the eye socket of a man
   wearing a Hell’s Angels shirt during an attack near VCU was denied bond Wednesday.




https://www.richmond.com/news/local/crime/mongols-motorcycle-club-member-denied-bond-inattack-near-vcu/article_bbf9f401-b886-51f8-b873-b7271… 2/5
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   Justin T. Bovender, 34, is facing one count of malicious wounding and two gang
   participation charges in connection with the Sept. 24 assault. He is also expected to face
   additional charges related to guns and drugs found during a search of a Mechanicsville
   Turnpike house, a prosecutor said.

   Bovender, a strength coach by trade, is listed in court records as being 6 feet, 4 inches
   tall and 256 pounds. His head is shaven, and covered in a variety of tattoos, including
   one on the back that reads “Mongols.” His attorney, Craig Cooley, did not dispute
   Bovender’s membership in the club.




   After the incident, Bovender told a Richmond police lieutenant in a weight room that he
   had gotten into a fight with a man because the person was involved with the Hell’s
   Angels, Assistant Commonwealth’s Attorney Brooke Pettit said in court.

   On Sept. 24, the victim in the case was helping a friend pick up a piece of restaurant
   equipment from a company on West Broad Street, according to an affidavit filed by a
   Richmond police detective seeking a search warrant. He was wearing a shirt that
   “showed support for the Hell’s Angels,” according to the statement.




https://www.richmond.com/news/local/crime/mongols-motorcycle-club-member-denied-bond-inattack-near-vcu/article_bbf9f401-b886-51f8-b873-b7271… 3/5
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   When the man in the Hell’s Angels shirt finished at the store, he found that his helmet
   was missing from his motorcycle, according to the affidavit. Later, he noticed a BMW
   following him. When the victim stopped for a traffic light in the 100 block of South
   Belvidere Street, the man driving the BMW got out, according to affidavit.

   The man from the BMW, whom prosecutors allege was Bovender, told the man in the
   Hell’s Angels shirt to meet him at the 7-Eleven on the corner if he wanted his helmet
   back, according to the statement. When the man in the Hell’s Angel’s shirt turned to
   look at the 7-Eleven, prosecutors allege, Bovender hit him, and continued striking him.

   The beating broke the victim’s eye socket, Pettit said at the hearing. A VCU security
   camera recorded the incident, Pettit said. The video was not shown in court.

   A later search of a house used by the Mongols turned up a banner, Mongols vests, drugs
   and more than a dozen firearms, including three linked to Bovender: a Mossberg
   shotgun, a Glock pistol and an SKS rifle, Pettit said. The SKS was the military rifle of
   many communist states before the adoption of the AK-47.

   While Cooley emphasized Bovender’s ties in the community, Richmond Circuit Court
   Judge Margaret P. Spencer sided with the prosecution and denied bond.




   tstrong@timesdispatch.com
https://www.richmond.com/news/local/crime/mongols-motorcycle-club-member-denied-bond-inattack-near-vcu/article_bbf9f401-b886-51f8-b873-b7271… 4/5
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   https://www.bakersfield.com/news/breaking/judge-slashes-bail-amount-for-alleged-hells-angels-member-accused-
   in-rosedale-stabbing/article_5a856dfe-55eb-590f-899d-d422c40fc6b2.html

   Judge slashes bail amount for alleged Hells Angels member
   accused in Rosedale stabbing
   BY JOHN COX jco @baker field com
   Feb 19, 2016




   Jonathan Smith pleaded not guilty to assault with a deadly weapon in an alleged biker gang fight on Rosedale Hwy. He is
   also charged with participation in a criminal street gang. At right is attorney H.A. Sala.
   Felix Adamo / The Californian




   A judge lowered the bail amount Friday for an alleged member of the Hells Angels motorcycle gang
   accused of assault during a confrontation last month on Rosedale Highway.


   Kern County Superior Court Judge Colette M. Humphrey reduced Jonathan Cole Smith’s bail from
   $1 million to $75,000 after hearing testimony the money would come only from legitimate sources.
https://www.bakersfield.com/news/breaking/judge-slashes-bail-amount-for-alleged-hells-angelsmember-accused/article_5a856dfe-55eb-590f-899d-d4…   1/3
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   Smith, 40, has pleaded not guilty to felony charges of assault with a deadly weapon other than a
   gun and participation in a criminal street gang.


   Smith’s attorney, H.A. Sala, said in an interview bail would be posted by the end of the day. Smith’s
   next court hearing is set for Tuesday.


   Arthur McAdams, an oilman who formerly employed the defendant, testified Friday he would put up
   the roughly $5,000 required to bail out Smith. Bail agent Steve Sparacino testified he would only
   accept the money from McAdams.


   Sala told the judge his client would repay McAdams out of a pending $500,000 settlement Smith
   expects to receive because of his involvement in a 2014 motorcycle accident.


   In a court filing, Sala wrote Smith is not a flight risk. He asserted the defendant has significant ties to
   the community and is not a threat to public safety. The only witness who has said Smith wielded a
   weapon is the biker gang member the defendant allegedly assaulted, Sala added.


   Police reports say Smith and another alleged member of the Hells Angels, 55-year-old Michael
   Blackwood, were in a red pickup following an unnamed member of a rival gang, the Mongols, on
   eastbound Rosedale Highway the afternoon of Jan. 26.


   When the Mongol came to a stop on his motorcycle at a red light, the reports quote the unidentified
   man as saying, Smith yelled an expletive, then pulled a knife and grabbed him. The Mongol said
   this knocked down the bike on top of him but that he was able to pull a knife, get up and stab Smith
   twice.


   Blackwood then exited the truck and the Mongol, outnumbered, tried to flee by jumping onto a
   passing pickup, which swerved and dragged him across the intersection.


   Smith was later taken to a local hospital and treated for serious injuries.


   Blackwood is free on bail on the same charges, along with a count of being an accessory to a crime.

   MORE INFORMATION




https://www.bakersfield.com/news/breaking/judge-slashes-bail-amount-for-alleged-hells-angelsmember-accused/article_5a856dfe-55eb-590f-899d-d4…   2/3
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     Stabbing on Rosedale involved Hells Angels and Mongols members, court filings say




   Alleged motorcycle gang member pleads not guilty to assault charge




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Open Road?
CRAIG OUTHIER (HTTPS://WWW.PHOENIXMAG.COM/AUTHOR/COUTHIER/) | February 21, 2018


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A Tucson Police Department incident report obtained by PHOENIX magazine lays out the scene.
On June 24, 2017, about a dozen members of the Black Kingz motorcycle club (MC) – an af liate
of The Outlaws, a major “one-percenter” MC based mainly in the U.S. Midwest and Southeast,
with no documented presence in Tucson – were enjoying a group outing at Venom show club on
Tucson’s east side. Shortly after midnight, two Black Kingz members, 33-year-old Davaress
Bolden and 23-year-old Frederic Bayles, went inside the club’s bathroom, followed a few seconds
later by a 64-year-old strip-club gad y named Tommy Hook, who was not known to have any ties
to the bikers. However, he did have a reputation for “[offending] people with his comments,”
according to an employee of the club. Another witness was less subtle: The one-time federal
auditor was “a piece of shit” who got into a lot of ghts.

What exactly transpired between the three men after entering the bathroom is uncertain, but
Hook stormed out about 30 seconds later and summoned an acquaintance sitting at the bar. Hook
re-entered the bathroom with his friend in tow. According to a statement later obtained from
Hook’s friend, the two bikers – Bolden and Bayles – and Hook exchanged angry words, and the
bikers beat him “with their hands.”

Sadly, Hook’s propensity for getting into scrapes with fellow strip-club habitués would be his nal
undoing on this particular evening. Summoned by his friend, a pair of doormen found Hook on
the bathroom oor in a pool of his own blood, with a fatal blunt-force head wound. Along with
their Black Kingz confréres, Bolden and Bayles escaped into the night.

After a brief manhunt, both suspects were apprehended. Bayles, facing second-degree murder and
aggravated assault charges, credibly claimed self-defense and ultimately plead down to class 4
negligent homicide with no incarceration. Bolden, who described himself as the biker gang’s “ring
leader,” according to a witness, scored a similar deal.
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These are the broad strokes of the case, but the devil – or the Angels, if you will – is in the details.
According to witness statements in the TPD incident report, the Black Kingz were not in town
merely for lap dances and bottle service. Likened by one witness to an outlaw-biker “farm team”
or second-tier club, the Kingz were “in Tucson… to recruit new members and open up a branch.”
Given their close ties to the bigger, better-known and more-feared Outlaws, it’s not a tremendous
cognitive leap to assume they were laying the groundwork for an Outlaws chapter, as well.
Although he was living in Phoenix at the time, and was arrested there, Bolden told a witness he
hailed from Memphis – a city known to be Outlaws-dominant.

Insiders say such blatant MC prospecting would not have happened on Arizona soil 20, 10 or even
 ve years ago. According to law enforcement of cials, journalists and members of the MC
community itself, Arizona is known unof cially as Hells Angels territory – and has been for
decades.

But that could be changing. Along with the Tucson beating incident, several violent clashes in the
Valley suggest alien MCs are getting more aggressive in Arizona, leading some observers within
the outlaw-biker community to wonder if the Hells Angels – the world’s biggest, most illustrious
motorcycle club, and one that’s still considered an organized crime syndicate by the U.S. Justice
Department – are losing their exclusive grip on the Grand Canyon State.
“There’s anCase
             idea 3:17-cr-00533-EMC
                  out there that Arizona is becoming
                                       Document      an ‘open
                                                 1084-18       state,’”
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                                                                 06/29/20    one source with
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multiple ties to the local biker community, and who wished to remain anonymous. “What that
means is, if you were an MC, and you wanted to ride through the state showing your logos and so
forth, you had to get the HA’s permission. If you wanted to set up a chapter somewhere, you had
to go to them, swear fealty to them, and get their permission. But that’s not the case anymore. It’s
open.”

True or not, the perception of Arizona’s “openness” has likely drawn more MCs into the Valley –
and some members of the state’s oldest and most entrenched bike club don’t appear to be ready
to turn the other cheek.

On a typically hot, dry Arizona afternoon in October 2016, Hells Angels legend Sonny Barger
quietly bid adieu to Cave Creek. It marked the end of a two-decade Arizona residency for the
seminal outlaw biker, who punched his way into the popular consciousness in the pages of Hunter
S. Thompson’s best-selling 1967 memoir Hell’s Angels: The Strange and Terrible Saga of the
Outlaw Motorcycle Gangs while serving as the president and co-founder of the club’s in uential
Oakland charter.
Rolling Stone later called him “the baddest man on two wheels.” In the insular and doggedly
secretive world of MCs, he’s the closest thing to a celebrity.

It would be disingenuous to call Barger “media-shy” – he holds court over 401,315 followers on
Facebook, and maintains his own website – but he rarely engages the news media, particularly
after undergoing a laryngectomy in the early 1980s while battling throat cancer. True to form, his
lone public pronouncement on the topic of his departure from Arizona was elegant simplicity
itself: “I want to announce that I have of cially rejoined the Oakland Charter,” a Facebook post
from August 22, 2016, reads. “Heading Home!”

The question is: Was Barger’s departure from Arizona an invitation for other MCs to move in?
Most friends and af liates of the club – don’t call it a gang, lest you get on their bad side –
disavow such thinking. Now 79 years old, Barger is no longer a street enforcer and hasn’t been for
some time, they point out. Moreover, the Hells Angels themselves contend they’re a decentralized
organization – a confederacy, more or less – with independent charters that govern themselves
and set their own agendas.

“It doesn’t matter where Sonny lives… the club is what it is,” Cave Creek resident Candy Chand
says. Friendly with Barger and his wife, Zorana, Chand is an Oakland transplant who moved to
Arizona around the same time as Barger and occasionally posts paean-like news columns to the
now-defunct HuffPost contributor platform about the club. She also writes faith-based
inspirational ction – “Sonny calls them my ‘Jesus books,’” she says with a chuckle.

Though Chand doesn’t attend “supporter parties” or other club events, she has met many Arizona
Hells Angels off-hours, and says Barger’s decamp for California did not cause much hand-
wringing among them. “It doesn’t diminish them. [The Hells Angels] have charters all over the
world.”
Indeed, theCase
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                  Angels’ dominion over Arizona1084-18
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                                                         Barger.  In a sense,
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Angels themselves.




A quick bit of Arizona biker history: For several decades, dating back to the late ’60s, the
dominant MC in Arizona was a band of Harley-riding, hirsute reprobates called The Dirty Dozen.
Named after the eponymous criminal soldiers in the Lee Marvin/Jim Brown action movie, the
Dozen brawled mercilessly with rival clubs and became a main preoccupation of Arizona law
enforcement during the 1970s and 1980s until “patching over” – e.g. merging – with the Hells
Angels in 1997.

In an interview with PHOENIX in 2011, one of the architects of that merger – late Hells Angels
street enforcer Robert “Chico” Mora – described how Dirty Dozen bikers sanitized Arizona of
rivals before trading in their iconic double-six dice emblem for the Hells Angels Death Head
patch.

“Oh, we were obnoxious assholes,” Mora cheerfully con ded, describing the earlier club’s modus
operandi. “We did terrible, depraved stuff all the time. Don’t get me wrong: The Hells Angels are
every bit as tough. But it was a different culture back then. Much wilder.”

Part of that culture was engaging motorcycle-mounted rivals whenever and wherever they found
them. In the early 1980s, Mora served three years in Florence State Prison for the shooting deaths
of two members of Bad Company – an outlaw bike gang based in New Mexico that was attempting
to set up a chapter in the old mining town of Globe.

Mora recalled that he summoned the two bikers to a popular roadhouse in Globe, where he laid
out his ultimatum. “I told them to behave themselves,” Mora said. “And respect my authority.
Then one of them pulled a gun on me. So I defended myself.”
Later, in the early
            Case    1990s, the Dozen waged
                  3:17-cr-00533-EMC        warfare
                                      Document     on another
                                                1084-18  Filedout-of-state club,70
                                                               06/29/20 Page     called
                                                                                   of 91the Vagos,
who were attempting to plant a ag on Arizona soil. Led by a biker named Don “Arizona Don”
Halterman, the Vagos even managed to start a Phoenix chapter in the heart of Dirty Dozen
territory.

The honeymoon period was brief, as described by former Arizona Department of Public Safety
(DPS) of cer Steve Trethewy. “There was some shooting and pipe-bombs. Somebody put a pipe-
bomb on Arizona Don’s front door. That was it. There was too much heat on them. The Vagos left
Phoenix.”

Such exploits did not go unnoticed by Barger as he served out a four-year conspiracy conviction in
a medium-security federal prison near Black Canyon City from 1988 to 1992. In fact, his
admiration for the Dirty Dozen may have facilitated his decision to leave Oakland for the Valley
and its warmer, more salubrious climate. Faced with a friendly takeover offer from the one-and-
only Hells Angels – essentially the Google of outlaw MCs – the Dozen had little choice. In 1997,
members of the two clubs convened in the HA clubhouse in Oakland – a converted Arthur Murray
dance studio, ironically – and the patch-over was consecrated.

By most accounts, Barger served in an emeritus or advisory capacity as a member of the Hells
Angels Cave Creek charter – he didn’t hold an of cer position, and was rarely seen at rallies and
public events – supporting the contention that his departure carries mostly symbolic, rather than
tactical, weight for the Arizona biker community.
But it’s also true that Barger’s vanishing act coincided with a general hemorrhaging of “old-guard
[Arizona] guys who weren’t afraid to mix it up [with other MCs],” in the words of the anonymous
source. In 2013, Mora – who held the title of “street warlord” during his Dirty Dozen days – died
of natural causes. Soon after, Mike Koepke, a member of the club’s feared “Nomads” charter – and
a principle gure in the much-publicized HA shootout with the Vagos in Prescott Valley in 2010 –
retired from the club to start a career as a Prescott reman (see PHOENIX August 2016).

Now rmly on the straight-and-narrow, Koepke says he no longer has regular contact with the
Hells Angels and can’t comment on the club’s politics or motivations. But asked if he could recall
an instance of seeing – or hearing about – a phalanx of enemy bikers riding unmolested on a
major Arizona highway without the HA’s blessing, to a strip club or otherwise, he says, “No, I
can’t recall that.”

Valley cocktail maestro Brandon Casey had barely taken possession of his new bar, The
Woodshed, on Baseline Road in Tempe when the deadly biker melee erupted across the street.

The date was August 17, 2016 – about a week, coincidentally, before Barger’s Facebook
announcement. According to Tempe Police Department spokesman Sgt. Ronald Elcock, four
members of the Mongols MC – like the Hells Angels, a “one-percenter” club with roots in
Southern California, but predominantly Latino – approached a single Hells Angel biker at the
Final Round Sports Bar & Grill at Baseline and Mill Avenue. “The Hells Angel was by himself, and
the [Mongol bikers] started a ght,” Elcock says, citing the of cial incident report.
According to   an ABC15
            Case          report the evening
                  3:17-cr-00533-EMC          of the1084-18
                                        Document    shooting,Filed
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                                                                   ght spilled out into
                                                                             Page  71 ofthe
                                                                                         91 parking
lot, where the shooter – whom PHOENIX independently veri ed through court documents as
Wayne Whitt, a member of the Hells Angels’ Mesa charter – red six shots before eeing on his
bike, killing one of his assailants. Though Tempe PD declined to name the deceased, a GoFundMe
page launched in the wake of the shooting suggests it was Richard “AZ Slick” Garcia, a member of
the Mongols’ Mesa chapter. Tempe PD ultimately declined to press charges against Whitt,
deeming the shooting self-defense. (The three surviving Mongols – Efren Ontiveros, John Magana
and Frank Gardea – were all arrested and are still awaiting “adjudication,” according to Elcock.)

Covered by all local TV news stations, the shooting was an eye-opener, because it demonstrated
how MC violence can erupt in unexpected places. The Mill/Baseline neighborhood in Tempe is not
regarded as a rough neighborhood – the street is lined with white-collar of ces, mid-level
restaurants and apartments. Kiwanis Park is a block south.
“I was super surprised it happened,” says Casey, former head mixologist at Citizen Public House,
who was interviewed by local TV reporters outside his bar the day after the shooting. “I grew up
in downtown Tempe… Biker gang violence wasn’t a thing. So I [found it] more confusing than
anything.”

The incident also illustrated the increased diversity of the Valley’s MC culture and, arguably, the
spasms of violence that can happen without a clearly de ned alpha. The Mongols claimed one
Arizona chapter – Mesa, which operates its own Facebook page – in 2011. Today, a Mongols-
af liated website lists four chapters in the Valley, though MC experts in law enforcement caution
that clubs sometimes in ate their numbers. The Arizona Hells Angels are believed to have around
100 active members, but an information request to DPS’ Gang & Immigration Intelligence Team
Enforcement Mission (GIITEM), which oversees most MC-related investigations in Arizona, was
not returned by the time this issue went to press.

If there is a larger battle brewing between the Hells Angels and Mongols, law enforcement isn’t
saying. “We don’t have intelligence [to that effect],” Elcock says. “We haven’t heard about
retaliation from that incident… and no rising tensions or any other shootings.”

A chat board on a website called AZ Independent Daily tells a slightly different story, with
devotees of the two clubs trading racially tinged barbs and claims of dominance in the Valley.
“Maybe if the Mongols didn’t y their patch in AZ, where they are not endorsed by the CMC
[Arizona Confederation of Motorcycle Clubs], they wouldn’t get into shootouts with the state’s
dominant MC,” one user chides.

“Quit with your nonsense this was chicken head territory the Mongols are moving in like they
took Cali away from the chicken heads,” a Mongol supporter responds, using a common epithet
for the Hells Angels Death Head emblem.

Another poster makes reference to the unsolved murder of Hells Angels Cave Creek member
Patrick Eberhardt, who was gunned down on his bike in North Phoenix in 2015. Sources close to
the club have privately expressed surprise that the murder has not resulted in any public
reprisals, especially given Eberhardt’s bloodlines – his father is Cave Creek charter president
Robert “Spa Bob”3:17-cr-00533-EMC
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2015, one of the two unnamed suspects in the ongoing investigation into Eberhardt’s death is a
Mongol member.

Then again, reprisals have a way of spinning out of hand for MCs, as the 170 indictments handed
down in the wake of the well-publicized 2015 Hells Angels shootout in Waco, Texas, demonstrate.
And online message boards rarely re ect diplomatic reality – fortunately.

Koepke, the retired Hells Angel – who escaped prosecution for the non-lethal Prescott Valley gun
battle when it was revealed that one of the enemy combatants was a paid con dential informant
– disavows the idea that the Arizona Hells Angels can or should go to war over territory.

“I don’t think it bene ts anybody to have ongoing warfare and clashes [among MCs],” he says.
“And [protecting territory] was certainly not something that was adopted or talked about when I
was in the Hells Angels. If someone does something [threatening], you have a right to defend
yourself… but anyone can start a club.”

One possible scenario: As Arizona grows in population and demographic complexity, the Hells
Angels may have to accept a new reality – as they once did in California – where different clubs
hold sway over different parts of the state.

If that is the case, bystanders like Casey just hope everyone in the Valley’s newly competitive MC
community gets the memo. “We haven’t seen any bikers in the area since [the Tempe shooting],”
he says. “But who knows? People are saying it’s a weird power-vacuum thing.”




MC Cheat Sheet

The term “one-percenter” was adopted by de ant outlaw bikers after organizers of the
1947 Hollister, Calif., biker rally insisted that troublemakers in the motorcycle world only
constituted “one percent” of total membership. Know a few of them with this handy
glossary.

Hells Angels
Founded by disaffected WWII vets in 1948, the “Red & White” achieved primacy in the biker wold
behind the emergence of its powerful Bay Area charters in the 1960s.
Vagos      Case 3:17-cr-00533-EMC Document 1084-18 Filed 06/29/20 Page 73 of 91
Also known as Green Nation, the MC was founded in Corona, Calif., in 1965. According to the
DOJ, they boast around 600 members in the U.S., including some in Northern AZ.

Mongols
Founded by Hispanic Vietnam War vets, the MC memorably brawled with HA in the deadly
Laughlin riot of 2002. They’re believed to have a growing Valley presence.

Outlaws
America’s oldest MC (est. 1935) has no known AZ presence, but is a longtime HA rival; Barger’s
1988 federal conviction stemmed from an alleged plot to blow up an Outlaws clubhouse.


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                             ORANGE COUNTY'S LEADING SOURCE OF NEWS, CULTURE AND ENTERTAINMENT



    JOSHUA HERBERT OF MONGOLS HELD IN KILLING OF HELLS ANGEL JAMES DUTY
    OF ORANGE

    MATT COKER | JUNE 23, 2017




https://www.ocweekly.com/hells-angel-slain-8206549/                                                                          1/4
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    UPDATE, JUNE 23, 3:01 P.M.: Joshua Ryan Herbert, 27, of Corona, has been formally
    charged in Riverside County with rst-degree murder, attempted murder, a special
    circumstance allegation of killing for the bene t of a gang and sentencing
    enhancements for use of a gun and great bodily injury.


    Held without bail at the Robert Presley Detention Center in Riverside, Herbert is
    scheduled to be arraigned this a ernoon at the Riverside Hall of Justice.




https://www.ocweekly.com/hells-angel-slain-8206549/                                                                          2/4
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                                               The Riverside Police Department has released more details
    about the fatal shooting of James “Floppy” Duty: He was fueling up with four fellow
    Hells Angels bikers at the Shell station just o of the 91 freeway. Herbert and another
    person, who remains at large and has not been identi ed, allegedly drove by and
    opened re. Duty was struck multiple times. A bullet only grazed the helmet of the
    unidenti ed Hells Angels member who was not injured. The attackers ed toward the
    freeway. The Anaheim Police Department, the California Highway Patrol, the Garden
    Grove Police Department, the Long Beach Police Department and other agencies
    helped Riverside police investigators determine the Mongols was responsible for the
    shootings, Detective Jim Simons told City News Service. That led to search warrants
    being served earlier this week in Anaheim, Cathedral City, Corona, Garden Grove,
    Huntington Beach and Riverside. Herbert, who was no previous felony convictions,
    was taken into custody without incident Wednesday at his residence on Monterey
    Peninsula Drive. Police say the handgun that killed Duty was seized during the raids,
    as were other rearms and various gang paraphernalia. Anyone with information that
    can help investigators can call Simons at 951.353.7138.


    ORIGINAL POST, JUNE 23, 6:19 A.M.: A 27-year-old man has been arrested for the
    murder of an Orange man who belonged to the Hells Angels, according to
    authorities.


    James Duty, 31, was with some fellow Angels ying colors at a Shell gas station in
    Riverside on May 21, when they were ambushed by members of the longtime rival
    motorcycle gang the Mongols, says the Riverside Police Department.

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    Duty, whose nickname was “Floppy,” and another member of the Hells Angels were
    struck by gun re; the Orange resident later died at a hospital.


    The other victim, who was not identi ed, was shot in the head, but his helmet
    de ected the bullet and he was not injured.


    Riverside cops announced Thursday that Joshua Herbert, a member of the Mongols,
    has been arrested for Duty’s slaying and the attempted murder of the second
    shooting victim.


    There is nothing to indicate Herbert knew either victim before opening re, police
    add.



                                 MATT COKER
                                 OC Weekly Editor-in-Chief Matt Coker has been engaging, enraging and entertaining readers of
                                 newspapers, magazines and websites for decades. He spent the rst 13 years of his career in journalism at
                                 daily newspapers before “graduating” to OC Weekly in 1995 as the alternative newsweekly’s rst calendar
                                 editor.




            NEWS




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   gunfight-with-hells-angels/article_a00a59ec-1b4f-11e9-a0dd-4340a58a5695.html

   Man affiliated with Mongols motorcycle gang sentenced for role in
   fatal gunfight with Hells Angels
   BY JASON KOTOWSKI jkotowski@bakersfield.com
   Jan 18, 2019



   A Bakersfield man affiliated with the Mongols motorcycle gang was sentenced Friday in connection
   with a fatal gunfight that occurred between the gang and the rival Hells Angels gang last year.


   Christopher Clay Wilson, 40, was sentenced to time served and three years' probation on an
   accessory charge to which he pleaded no contest in August. Other charges, including five counts of
   attempted murder, were dismissed.


   The charges stemmed from a fatal shooting that occurred in June at a motorcycle wash fundraiser
   organized by the local chapter of the Hells Angels in the 3200 block of Buck Owens Boulevard.


   Wilson and other affiliates and members of the Mongols showed up at the event to confront the
   Hells Angels, according to police. One Mongol, Ricardo Viera, armed himself with a pump-action
   pistol grip shotgun and waited in a gas station parking lot.


   Meanwhile, two other Mongols affiliates brandished metal objects and challenged Hells Angels at
   the event, police said. They lured several Hells Angels into the gas station parking lot, and Viera
   opened fire on them.


   A person at the wash then armed himself with a handgun and fired several rounds at Viera, killing
   him.


   Wilson and the other affiliates — Arturo Desiderio, 38, and Eliseo Ray Miranda, 46 — fled the scene
   but were arrested soon after the incident.


   Desiderio and Miranda remain charged with attempted murder, among other crimes, and are
   scheduled to go to trial next month.


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      RECENT HIGH-PROFILE INCIDENTS
      SHINE A LIGHT ON LOCAL OUTLAW
      MOTORCYCLE GANGS
      The Bakers eld Californian - 3/16/2019


      March 16-- Mar. 16--They cut an imposing gure.


      Heads turn and people tend to keep their distance when members of Bakers eld's local outlaw motorcycle
      gangs enter an establishment. Instantly recognizable due to their leather vests with patches proclaiming
      their af liation, these groups historically have a reputation for violence.


      Some recent incidents involving the groups have only furthered that reputation. One was a deadly
      stabbing at a popular dive bar involving two motorcycle gang members, the other an exchange of gunshots
      in broad daylight during a fundraiser on Buck Owens Boulevard.


      Those who spot members of a biker gang are best advised to leave them alone. Anyone who starts trouble
      could quickly nd himself surrounded and in extreme physical danger.


      "They engage in acts of violence or drug sales as needed," said Senior Police Of cer Louis James, of the
      Bakers eld Police Department's gang unit.


      "If one engages in a physical altercation, the others will engage, too," he said.


      The Hells Angels, Mongols and Devils Diciples all have a presence in the Bakers eld area, with the Hells
      Angels maintaining a clubhouse in the Oildale area. James said the Mongols claim to have a clubhouse
      locally but he's never seen it.


      While the Devils Diciples have a Bakes eld patch, they don't have a clubhouse here. There are also several
      Vagos members in town, James said.



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      Dive bars are the usual hangout for these groups, but they sometimes turn up in unexpected places. For
      example, James said, police received a call of some biker gang members at Wiki's Wine Dive & Grill, an
      upscale establishment.


      Their numbers are relatively small, but there's something about biker gang members, probably due to their
      reputation, that people generally become more concerned if they see a ght break out between them,
      according to James.


      Those who join these gangs are referred to as "1-percenters," taken from a quote from the American
      Motorcycle Association saying 99 percent of motorcycle riders abide by the law. The implication is these 1
      percent don't.


      Exact numbers can be hard to tally because some members may be living in town while others might be
      from a chapter in another city stopping in for a fundraiser or other event.


      The of cer gave the following estimates for local biker gang members:


      * Hells Angels: more than 20.


      * Devils Diciples: more than 10.


      * Mongols: more than 10.


      * Vagos: fewer than 10.


      RECENT INCIDENTS AND RIVALRIES


      Last month, Hells Angels af liate Michael Adam Morales, 32, was fatally stabbed at Guthrie's Alley Cat in
      downtown Bakers eld. His accused killer is Russell Vannoy, 60, a member of Devils Diciples.


      There previously was no rivalry between the two gangs, but James said the killing of Morales, known as
      "Mikey Smash," has the potential to cause trouble between the two. He said he doesn't know if there are
      meetings going on between the hierarchies of the two groups to make peace, or if this is possibly the start of
      a rivalry.


      In another high-pro le case, members of the Mongols gang in May showed up at a Hells Angels bike wash
      to provoke the rival gang. Police said one of the Mongols, Ricardo Viera, red a round from a pump-action
      pistol grip shotgun into a crowd of people at the event, injuring at least one person.




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      A Hells Angels af liate, whose name was never released, armed himself with a handgun and red several
      rounds at Viera, killing him. Three Mongols were later charged with multiple offenses in connection with the
      incident. The Hells Angels af liate was not charged after it was determined he acted in self-defense.


      There has long been a rivalry between the Mongols and Hells Angels. In an incident that made national
      news, a massive brawl between the two groups broke out at a Nevada casino in 2002. A Mongol was
      stabbed to death and two Hells Angels fatally shot during the melee.


      In Bakers eld, James said, a lot of the incidents of violence involving these gangs don't involve rearms. Most
      are assaults, not shootings.


      Police step up enforcement after incidents involving them, James said, to determine who is on probation or
      parole and let them know they're keeping an eye on them.


      MEMBERSHIP AND INSIGNIA


      Some biker gang members may be unemployed. Others hold down jobs with six- gure salaries. James
      recalled a case in which a gangster from out of town was employed as a defense attorney.


      Regarding those members with full-time jobs, James said, "They got in the gang at one point and remained
      there yet are still successful in their normal life. They still attend meetings and participate in runs."


      Usually, James said, biker gang members are civil if police contact them asking about a motorcycle run or
      what they've been doing in general. They typically begin getting agitated if questioned regarding speci c
      crimes.


      Those who are the most confrontational are the "prospects," which are bikers interested in joining the gang
      but who are on a probationary period -- typically a year -- before becoming full- edged members allowed
      to wear the group's full patch. Prospects are expected to prove their loyalty and engage in activities as
      directed by members.


      They're the ones most likely to be arrested.


      A word about those patches: members have been known to kill over them. Even something as simple as
      tapping a gang member on the back and touching the patch can lead to a beating or worse.


      "They consider the patch one of their most prized possessions," James said.


      Each gang has its own insignia. The Hells Angels' insignia is a death's head with wings, the Mongols' a
      cartoon Genghis Khan-like gure riding a motorcycle, the Devils Diciples' a wheel with tridents crossing it
      and the Vagos' features Loki, the god of mischief in Norse mythology.

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      James asked that anyone who sees a large gathering of biker gang members notify police so they can check
      out the situation and identify who they are and what chapter they're from. Also notify police if outlaw
      motorcycle gangs are spotted at a bar.


      There's always the potential for violence if a rival group show up.


      "We don't want any members to get killed or injured, or any bystanders either," James said.


      Jason Kotowski can be reached at 661-395-7491. Follow him on Twitter: @tbcbreakingnews.


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